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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

EMANUEL BELLING,                                   )
                                                   )      Case No.
                Plaintiff,                         )
        v.                                         )      Judge
                                                   )
P.O. WILLIAM GORMAN # 3935, P.O.                   )      Magistrate Judge
PHILIP POLUSH #2107, and P.O. THOMAS               )
SHANNON, individually and THE CITY OF              )
CHICAGO,                                           )      Jury Demand
                                                   )
                Defendants.                        )

                                         COMPLAINT

        NOW COMES the Plaintiff, EMANUEL BELLING, by and through his attorneys,

GREGORY E. KULIS & ASSOCIATES, LTD. complaining against the Defendants, P.O.

GORMAN # 3935, P.O. PHILIP POLUSH #2107, and P.O. THOMAS SHANNON, individually

and THE CITY OF CHICAGO as follows:

                     COUNT I-UNLAWFUL/UNREASONABLE SEARCH

        1)      This action is brought pursuant to the Laws of the United States Constitution,

specifically, 42 U.S.C. §1983 and §1988, and the laws of the State of Illinois, to redress

deprivations of the Civil Rights of the Plaintiff, and accomplished by acts and/or omissions of

the Defendants committed under color of law.

        2)      Jurisdiction is based on Title 28 U.S.C. §1343 and §1331 and supplemental

Jurisdiction of the State of Illinois.

        3)      The Plaintiff, EMANUEL BELLING, was a United States citizen and permanent

resident of the State of Illinois.
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       4)       The Defendants, P.O. GORMAN # 3935, P.O. PHILIP POLUSH #2107, and P.O.

THOMAS SHANNON, were at all relevant times duly appointed police officers of the CITY OF

CHICAGO and at all relevant times were acting within their scope of employment and under

color of law.

       5)       On June 6, 2013 the Plaintiff was at his home located at 1352 W. 109th place,

Chicago, IL.

       6)       The Plaintiff was not committing a crime or breaking any laws.

       7)       The Defendants entered the Plaintiff’s home.

       8)       The Defendants did not have probable cause to enter the Plaintiff’s home.

       9)       The Defendants did not have a search warrant to enter the Plaintiff’s home.

       10)      The Defendants forcefully broke into Plaintiff’s home and searched.

       11)      Said actions of the Defendants, P.O. GORMAN # 3935, P.O. PHILIP POLUSH

#2107, and P.O. THOMAS SHANNON, were intentional, willful and wanton.

       12)      Said actions of the Defendants violated the Plaintiff, EMANUEL BELLING’S

Fourth and Fourteenth Amendment Rights of the United States Constitution as protected by 42

U.S.C. §1983.

       13)      As a direct and proximate consequence of said conduct of the Defendants, the

Plaintiff, EMANUEL BELLING, suffered violations of his constitutional rights, emotional

anxiety, fear, pain, suffering, monetary loss, expense and invasion to his personal privacy.

       WHEREFORE, the Plaintiff, EMANUEL BELLING, prays for judgment against the

Defendants, P.O. GORMAN # 3935, P.O. PHILIP POLUSH #2107, and P.O. THOMAS

SHANNON, jointly and severally, for reasonable compensatory damages and punitive damages,

plus attorneys’ fees and costs.

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                                   COUNT II- FALSE ARREST

           1-13) The Plaintiff, EMANUEL BELLING hereby realleges and incorporates his

allegations of paragraph 1-10 of Count I as his respective allegations of paragraphs 1-13 of

Count II as though fully set forth herein.

           14)   The Plaintiff heard noises and came up the stairs.

           15)   The Defendants took the Plaintiff into custody and arrested him.

           16)   The Plaintiff was not committing a crime or breaking any laws.

           17)   Said actions were intentional, willful and wanton.

           18)   There was no probable cause to arrest the Plaintiff.

           19)   As a result of the actions of the Defendants the Plaintiff spent over six (6) months

in jail.

           20)   Said actions of the Defendants, P.O. GORMAN # 3935, P.O. PHILIP POLUSH

#2107, and P.O THOMAS SHANNON violated the Plaintiff, EMMANUEL BELLING’S Fourth

and Fourteenth Amendment Rights of the United States Constitution as protected by 42 U.S.C.

§1983.

           18)   As a direct and proximate consequence of said conduct of the Defendants, P.O.

GORMAN # 3935, P.O. PHILIP POLUSH #2107 and P.O. THOMAS SHANNON, the Plaintiff,

EMMANUEL BELLING, suffered violations of his constitutional rights, emotional anxiety, fear,

pain, suffering, monetary loss and expense and invasion to his personal privacy and taken of his

freedom

           WHEREFORE, the Plaintiff, EMANUEL BELLING, prays for judgment against the

Defendants, P.O. GORMAN # 3935, P.O. PHILIP POLUSH #2107, and P.O THOMAS

SHANNON jointly and severally, reasonable compensatory damages, punitive damages, plus

                                                   3
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attorneys’ fees and costs.

                 COUNT III- INDEMNIFICATION – CITY OF CHICAGO

        1-22) The Plaintiff, EMANUEL BELLING , hereby realleges and incorporates his

allegations of paragraphs 1-22 of Counts I and II as his respective allegations of paragraphs 1-22

of Count III though fully set forth herein.

        23)    Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

        24)    Defendants, P.O. GORMAN # 3935, P.O. PHILIP POLUSH #2107, and P.O.

THOMAS SHANNON are employees of the CITY OF CHICAGO Police Department who acted

within the scope of their employment in committing the misconduct described herein.

        WHEREFORE, should any of the Defendants, P.O. GORMAN # 3935, P.O. PHILIP

POLUSH #2107, and P.O THOMAS SHANNON, be found liable for the acts alleged above, the

CITY OF CHICAGO would be liable to pay the Plaintiff, EMANUEL BELLING any judgment

obtained against said Defendants.

                                         JURY DEMAND


        The Plaintiff, EMANUEL BELLING, requests a trial by jury.

                                              Respectfully submitted,

                                              /s/Gregory E. Kulis
                                              Gregory E. Kulis and Associates

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